      2:18-cv-01354-DCN            Date Filed 05/17/18     Entry Number 1         Page 1 of 15




                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 TED SIGMON, individually and on behalf of all
 others similarly situated,                                 Case No. 2:18-cv-01354-DCN

                          Plaintiff,

        v.


 URBAN EDGE PROPERTIES; and
 URBAN EDGE PROPERTIES LP,

                          Defendants.


                       NATIONWIDE CLASS ACTION COMPLAINT

       COMES NOW, Plaintiff Ted Sigmon, on behalf of himself and all others similarly situated,

and alleges as follows:

                                         INTRODUCTION

       1.      Plaintiff brings this action individually and on behalf of all others similarly situated

against Urban Edge Properties and Urban Edge Properties LP (“Defendants”), alleging violations

of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (the “ADA”), and its

implementing regulations, in connection with accessibility barriers in the parking lots and paths of

travel at various public accommodations owned, operated, controlled, and/or leased by Defendants

(“Defendants’ facilities”).

       2.      Plaintiff has a mobility disability and is limited in the major life activity of walking,

which has caused him to be dependent upon a wheelchair for mobility.

       3.      Plaintiff has visited Defendants’ facilities and was denied full and equal access as

a result of Defendants’ inaccessible parking lots and paths of travel.
      2:18-cv-01354-DCN           Date Filed 05/17/18        Entry Number 1         Page 2 of 15




       4.         Plaintiff’s experiences are not isolated—Defendants have systematically

discriminated against individuals with mobility disabilities by implementing policies and practices

that consistently violate the ADA’s accessibility guidelines and routinely result in access barriers

at Defendants’ facilities.

       5.         In fact, numerous facilities owned, controlled, and/or operated by Defendants have

parking lots and paths of travel that are inaccessible to individuals who rely on wheelchairs for

mobility, demonstrating that the centralized decision making Defendants employ with regard to

the design, construction, alteration, maintenance, and operation of its facilities causes access

barriers and/or allows them to develop and persist at Defendants’ facilities.

       6.         Unless Defendants are required to remove the access barriers described below, and

required to change their policies and practices so that access barriers do not reoccur at Defendants’

facilities, Plaintiff and the proposed Class will continue to be denied full and equal access to those

facilities as described and will be deterred from fully using Defendants’ facilities.

       7.         The ADA expressly contemplates injunctive relief aimed at modification of a policy

or practice that Plaintiff seeks in this action. In relevant part, the ADA states:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities . . .. Where appropriate, injunctive relief shall also include
       requiring the . . . modification of a policy . . ..

42 U.S.C. § 12188(a)(2).

       8.         Consistent with 42 U.S.C. § 12188(a)(2), Plaintiff seeks a permanent injunction

requiring that:

       a. Defendants remediate all parking and path of travel access barriers at
          Defendants’ facilities, consistent with the ADA;

       b. Defendants change their policies and practices so that the parking and path of
          travel access barriers at Defendants’ facilities do not reoccur; and

                                                    2
      2:18-cv-01354-DCN             Date Filed 05/17/18       Entry Number 1         Page 3 of 15




          c. Plaintiff’s representatives shall monitor Defendants’ facilities to ensure that the
             injunctive relief ordered pursuant to Paragraph 8.a. and 8.b. has been
             implemented and will remain in place.

          9.      Plaintiff’s claims for permanent injunctive relief are asserted as class claims

pursuant to Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) was specifically intended to be utilized in civil

rights cases where the Plaintiff seeks injunctive relief for his or her own benefit and the benefit of

a class of similarly situated individuals. To that end, the note to the 1996 amendment to Rule 23

states:

          Subdivision(b)(2). This subdivision is intended to reach situations where a party
          has taken action or refused to take action with respect to a class, and final relief of
          an injunctive nature or a corresponding declaratory nature, settling the legality of
          the behavior with respect to the class as a whole, is appropriate . . .. Illustrative are
          various actions in the civil rights field where a party is charged with discriminating
          unlawfully against a class, usually one whose members are incapable of specific
          enumeration.

                    THE ADA AND ITS IMPLEMENTING REGULATIONS

          10.     The ADA was enacted over a quarter century ago and is intended to “provide a

clear and comprehensive national mandate for the elimination of discrimination against individuals

with disabilities.” 42 U.S.C. § 12101(b)(1).

          11.     The ADA broadly protects the rights of individuals with disabilities in employment,

access to State and local government services, places of public accommodation, transportation,

and other important areas of American life.

          12.     Title III of the ADA generally prohibits discrimination against individuals with

disabilities in the full and equal enjoyment of public accommodations, 42 U.S.C. § 12182(a), and

prohibits places of public accommodation, either directly or through contractual, licensing, or other

arrangements, from outright denying individuals with disabilities the opportunity to participate in

a place of public accommodation, 42 U.S.C. § 12182(b)(1)(A)(i), or denying individuals with

                                                     3
      2:18-cv-01354-DCN          Date Filed 05/17/18        Entry Number 1         Page 4 of 15




disabilities the opportunity to fully and equally participate in a place of public accommodation, 42

U.S.C. § 12182(b)(1)(A)(ii).

       13.     Title III further prohibits places of public accommodation from utilizing methods

of administration that have the effect of discriminating on the basis of a disability. 42 U.S.C. §

12182(b)(1)(D).

       14.     Title III and its implementing regulations define discrimination to include the

following:

       a) Failure to remove architectural barriers when such removal is readily achievable
          for places of public accommodation that existed prior to January 26, 1992, 28
          C.F.R. § 36.304(a) and 42 U.S.C. § 12182(b)(2)(A)(iv);

       b) Failure to design and construct places of public accommodation for first
          occupancy after January 26, 1993, that are readily accessible to and usable by
          individuals with disabilities, 28 C.F.R. § 36.401 and 42 U.S.C. § 12183(a)(1);

       c) For alterations to public accommodations made after January 26, 1992, failure
          to make alterations so that the altered portions of the public accommodation are
          readily accessible to and usable by individuals with disabilities, 28 C.F.R. §
          36.402 and 42 U.S.C. § 12183(a)(2); and

       d) Failure to maintain those features of public accommodations that are required to
          be readily accessible to and usable by persons with disabilities, 28 C.F.R. §
          36.211.

       15.     The remedies and procedures set forth at 42 U.S.C. § 2000a-3(a) are provided to

any person who is being subjected to discrimination on the basis of disability or who has reasonable

grounds for believing that such person is about to be subjected to discrimination in violation of 42

U.S.C. § 12183. 42 U.S.C. 12188(a)(1).

       16.     The ADA also provides for specific injunctive relief, which includes the following:

       In the case of violations of sections 12182(b)(2)(A)(iv) and section 12183(a) of this
       title, injunctive relief shall include an order to alter facilities to make such facilities
       readily accessible to and usable by individuals with disabilities to the extent required
       by this subchapter. Where appropriate, injunctive relief shall also include . . .
       modification of a policy . . . to the extent required by this subchapter.

                                                   4
       2:18-cv-01354-DCN         Date Filed 05/17/18       Entry Number 1     Page 5 of 15




42 U.S.C. § 12188(a)(2); 28 C.F.R. § 36.501(b).

                        THE REAL ESTATE INVESTMENT TRUST

        17.    A real estate investment trust (“REIT”) is a corporation, trust, or association that

owns and operates income-producing real estate in a variety of property sectors and meets the

requirements of 26 U.S.C. § 856.

        18.    REITs receive preferential tax treatment on dividends paid to shareholders and

function essentially as pass-through tax entities.

        19.    To maintain their preferred tax status, REITs are subject to certain statutory

limitations on the kinds of activities they may conduct.

        20.    Because a REIT’s activities are limited, a REIT is permitted to own 100% of the

stock in a Taxable REIT Subsidiary (“TRS”), which have more operational flexibility.

        21.    A TRS typically provides services to the parent REIT’s tenants or owns or operates

property that would otherwise disqualify the REIT from its nontaxable status.

        22.    The only statutory restrictions concerning the activities of a TRS relate to lodging

and healthcare facilities. See I.R.C. § 856(l)(3). Otherwise, a TRS is able to provide a wide range

of services such as, inter alia, property management, construction services, and operating parking

facilities.

        23.    In addition to the use of TRS entities, REITs commonly structure their organization

through a variety of operating partnerships to segment their property ownership interests. For

example, an umbrella partnership real estate investment trust (“UPREIT”) is a REIT that holds

substantially all of its properties through a partnership of which it is a partner. In the UPREIT

structure, the REIT is treated as indirectly owning real estate assets. The operating partnerships,

in turn, have a direct ownership interest in the REIT’s properties.

                                                     5
      2:18-cv-01354-DCN           Date Filed 05/17/18     Entry Number 1        Page 6 of 15




        24.     Defendant Urban Edge Properties is a publicly-traded REIT that, through its

subsidiaries and affiliates, owns, manages, leases, and develops shopping centers, malls, and other

retail properties throughout the United States.1

        25.     Defendants, on information and belief, conduct their operations through at least one

TRS entity. Id. at 3.

        26.     Defendants own and operate a property portfolio of public accommodations that

consists primarily of “85 shopping centers [and] four malls”. Id. at 1.

        27.     Defendants are aware of their obligations under the ADA with respect to their

properties: “We [Urban Edge Properties] could be required under the ADA to make substantial

alterations to, and capital expenditures at, one or more of our properties, including the removal of

access barriers.” Id. at 10.

        28.     On information and belief, Defendants own the properties where Plaintiff was

denied full and equal access as a result of inaccessible parking lots and paths of travel.

        29.     Plaintiff intends to propound discovery that will demonstrate that these properties

are under the direct control and management of Defendants.

                                JURISDICTION AND VENUE

        30.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 12188.

        31.     Plaintiff’s claims asserted herein arose in this judicial district, and Defendants do

substantial business in this judicial district.




1
 Urban Edge Properties, Annual Report (Form 10-K), at 1 (Feb. 14, 2018), available at
https://www.sec.gov/Archives/edgar/data/1611547/000161154718000009/ue-12312017x10k.htm
as of May 17, 2018.
                                                   6
      2:18-cv-01354-DCN          Date Filed 05/17/18       Entry Number 1         Page 7 of 15




       32.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                              PARTIES

       33.     Plaintiff   is,   and   at   all   times   relevant   hereto   was,    a   resident    of

South Carolina. As described above, as a result of his disability, Plaintiff relies upon a wheelchair

for mobility. He is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),

and the regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.

       34.     Defendant Urban Edge Properties is a REIT organized under Maryland law and

headquartered at 888 Seventh Avenue, New York, NY 10106.

       35.     Defendant Urban Edge Properties LP is a Delaware limited partnership

headquartered, on information and belief, at 888 Seventh Avenue, New York, NY 10106.

       36.     Defendants are a public accommodation pursuant to 42 U.S.C. §12181(7).

                                   FACTUAL ALLEGATIONS

I.     Plaintiff Has Been Denied Full and Equal Access to Defendants’ Facilities.

       37.     Plaintiff has visited Defendants’ facilities located at 1987 Sam Rittenberg Blvd.,

Charleston, SC, including within the last year, where he experienced unnecessary difficulty and

risk due to excessive slopes in a purportedly accessible parking space and other ADA accessibility

violations as set forth in more detail below.

       38.     Despite this difficulty and risk, Plaintiff plans to return to Defendants’ facilities, as

he regularly travels in and around the area where Defendants’ facilities are located, usually to have

his car serviced nearby, and he wishes to access goods and services offered at Defendants’

facilities. Furthermore, Plaintiff intends to return to Defendants’ facilities to ascertain whether

those facilities remain in violation of the ADA.



                                                   7
      2:18-cv-01354-DCN              Date Filed 05/17/18    Entry Number 1        Page 8 of 15




        39.     As a result of Defendants’ non-compliance with the ADA, Plaintiff’s ability to

access and safely use Defendants’ facilities has been significantly impeded.

        40.     Plaintiff will be deterred from returning to and fully and safely accessing

Defendants’ facilities, however, so long as Defendants’ facilities remain non-compliant, and so

long as Defendants continue to employ the same policies and practices that have led, and in the

future will lead, to inaccessibility at Defendants’ facilities.

        41.     Without injunctive relief, Plaintiff will continue to be unable to fully and safely

access Defendants’ facilities in violation of his rights under the ADA.

        42.     As an individual with a mobility disability who is dependent upon a wheelchair,

Plaintiff is directly interested in whether public accommodations, like Defendants’ facilities, have

architectural barriers that impede full accessibility to those accommodations by individuals with

mobility-related disabilities.

II.     Defendants Repeatedly Deny Individuals With Disabilities Full and Equal Access to
        Defendants’ Facilities.

        43.     Defendants are engaged in the ownership, management, and development of retail

properties, primarily malls and shopping centers, throughout the United States.

        44.     As the owner and manager of their properties, Defendants employ centralized

policies, practices, and procedures with regard to the design, construction, alteration, maintenance,

and operation of their facilities.

        45.     To date, Defendants’ centralized design, construction, alteration, maintenance, and

operational policies and practices have systematically and routinely violated the ADA by

designing, constructing, and altering facilities so that they are not readily accessible and are usable,

by failing to remove architectural barriers, and by failing to maintain and operate facilities so that

the accessible features of Defendants’ facilities are maintained.

                                                   8
      2:18-cv-01354-DCN           Date Filed 05/17/18     Entry Number 1       Page 9 of 15




       46.       On Plaintiff’s behalf, investigators examined multiple locations owned, controlled,

and/or operated by Defendants and found the following violations, which are illustrative of the

fact that Defendants implement policies and practices that routinely result in accessibility

violations:

              a. 1987 Sam Rittenberg Blvd., Charleston, SC

                    i.   The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                   ii.   One or more purportedly accessible access aisles measured less than 60
                         inches.

              b. 500 Route 38, Cherry Hill, NJ

                    i.   The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                   ii.   The surfaces of one or more access aisles had slopes exceeding 2.1%.

              c. 641 Baltimore Pike, Springfield, PA

                    i.   The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%;

                   ii.   The surfaces of one or more access aisles had slopes exceeding 2.1%;

                  iii.   No spaces were designated as “van accessible” at one or more groups of
                         purportedly accessible parking spaces; and

                  iv.    One or more signs designating spaces as “accessible” were mounted less
                         than 60 inches above the finished surface of the parking area.

              d. 50 N. Macdade Blvd., Glenolden, PA

                    i.   The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%;

                   ii.   The surfaces of one or more access aisles had slopes exceeding 2.1%;

                  iii.   One or more purportedly accessible spaces were not marked with required
                         signs; and

                  iv.    No spaces were designated as “van accessible” at one or more groups of
                         purportedly accessible parking spaces.

                                                  9
     2:18-cv-01354-DCN           Date Filed 05/17/18        Entry Number 1         Page 10 of 15




              e. 2325 Street Road, Ben Salem, PA

                     i.   The surfaces of one or more purportedly accessible parking spaces had
                          slopes exceeding 2.1%.

        47.      The fact that individuals with mobility-related disabilities are denied full and equal

access to numerous of Defendants’ facilities, and the fact that each of these facilities deny access

by way of inaccessible parking facilities, is evidence that the inaccessibility Plaintiff experienced

is not isolated, but rather, is caused by Defendants’ systemic disregard for the rights of individuals

with disabilities.

        48.      Defendants’ systemic access violations demonstrate that Defendants either employ

policies and practices that fail to design, construct, and alter their facilities so that they are readily

accessible and usable and/or that Defendants employ maintenance and operational policies and

practices that are unable to maintain accessibility.

        49.      As evidenced by the widespread inaccessibility of Defendants’ parking facilities,

absent a change in Defendants’ corporate policies and practices, access barriers are likely to

reoccur in Defendants’ facilities even after they have been remediated.

        50.      Accordingly, Plaintiff seeks an injunction to remove the barriers currently present

at Defendants’ facilities and an injunction to modify the policies and practices that have created or

allowed, and will create or allow, inaccessibility to affect Defendants’ network of facilities.

                                      CLASS ALLEGATIONS

        51.      Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2) on

behalf of himself and the following nationwide class: all wheelchair users who have attempted, or

will attempt, to utilize the parking facilities at all locations within the United States for which

Defendants own and/or control the parking facilities.




                                                   10
     2:18-cv-01354-DCN          Date Filed 05/17/18       Entry Number 1        Page 11 of 15




       52.     Numerosity: The class described above is so numerous that joinder of all individual

members in one action would be impracticable. The disposition of the individual claims of the

respective class members through this class action will benefit both the parties and this Court and

will facilitate judicial economy.

       53.     Typicality: Plaintiff’s claims are typical of the claims of the members of the class.

The claims of Plaintiff and members of the class are based on the same legal theories and arise

from the same unlawful conduct.

       54.     Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the class in that they all have

been and/or are being denied their civil rights to full and equal access to, and use and enjoyment

of, Defendants’ facilities and/or services due to Defendants’ failure to make their facilities fully

accessible and independently usable as above described.

       55.     Adequacy of Representation: Plaintiff is an adequate representative of the class

because his interests do not conflict with the interests of the members of the class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class,

and he has no interests antagonistic to the members of the class. Plaintiff has retained counsel who

are competent and experienced in the prosecution of class action litigation, generally, and who

possess specific expertise in the context of class litigation under the ADA.

       56.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendants have acted or refused to act on grounds generally applicable to the class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the class as a whole.

                                    SUBSTANTIVE VIOLATION

       57.     The allegations contained in the previous paragraphs are incorporated by reference.



                                                 11
     2:18-cv-01354-DCN          Date Filed 05/17/18      Entry Number 1        Page 12 of 15




       58.     Defendants’ facilities were altered, designed, or constructed after the effective date

of the ADA.

       59.     Defendants’ facilities are required to be altered, designed, and constructed so that

they are readily accessible to and usable by individuals who use wheelchairs. 42 U.S.C. §

12183(a).

       60.     Further, the accessible features of Defendants’ facilities, which include the parking

lots and paths of travel, are required to be maintained so that they are readily accessible to and

usable by individuals with mobility disabilities. 28 C.F.R. § 36.211.

       61.     The architectural barriers described above demonstrate that Defendants’ facilities

were not altered, designed, or constructed in a manner that causes them to be readily accessible to

and usable by individuals who use wheelchairs and/or that Defendants’ facilities were not

maintained so as to ensure that they remained accessible to and usable by individuals who use

wheelchairs.

       62.     Furthermore, the architectural barriers described above demonstrate that

Defendants have failed to remove barriers as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

       63.     Defendants’ repeated and systemic failures to design, construct, and alter their

facilities so that they are readily accessible and usable, to remove architectural barriers, and to

maintain the accessible features of their facilities constitute unlawful discrimination on the basis

of a disability in violation of Title III of the ADA.

       64.     Defendants’ facilities are required to comply with the Department of Justice’s 2010

Standards for Accessible Design, or in some cases the 1991 Standards. 42 U.S.C. § 12183(a)(1);

28 C.F.R. § 36.406; 28 C.F.R., pt. 36, app. A.




                                                  12
     2:18-cv-01354-DCN          Date Filed 05/17/18      Entry Number 1       Page 13 of 15




       65.     Defendants are required to provide individuals who use wheelchairs full and equal

enjoyment of their facilities. 42 U.S.C. § 12182(a).

       66.     Defendants have failed, and continue to fail, to provide individuals who use

wheelchairs with full and equal enjoyment of their facilities.

       67.     Defendants have discriminated against Plaintiff and the class in that they have

failed to make Defendants’ facilities fully accessible to, and independently usable by, individuals

who use wheelchairs in violation of 42 U.S.C. § 12182(a) as described above.

       68.     Defendants’ conduct is ongoing and continuous, and Plaintiff has been harmed by

Defendants’ conduct.

       69.     Unless Defendants are restrained from continuing their ongoing and continuous

course of conduct, Defendants will continue to violate the ADA and will continue to inflict injury

upon Plaintiff and the class.

       70.     Given that Defendants have not complied with the ADA’s requirements to make

Defendants’ facilities fully accessible to, and independently usable by, individuals who use

wheelchairs, Plaintiff invokes his statutory rights to declaratory and injunctive relief, as well as

costs and attorneys’ fees.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:

       a.      A declaratory judgment that Defendants are in violation of the specific
               requirements of Title III of the ADA described above, and the relevant
               implementing regulations of the ADA, in that Defendants’ facilities, as described
               above, are not fully accessible to, and independently usable by, individuals who use
               wheelchairs;

       b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 C.F.R. §
               36.501(b) that: (i) directs Defendants to take all steps necessary to remove the
               architectural barriers described above and to bring their facilities into full
               compliance with the requirements set forth in the ADA, and its implementing

                                                13
    2:18-cv-01354-DCN        Date Filed 05/17/18      Entry Number 1        Page 14 of 15




             regulations, so that the facilities are fully accessible to, and independently usable
             by, individuals who use wheelchairs; (ii) directs Defendants to change their
             policies and practices to prevent the reoccurrence of access barriers post-
             remediation; and (iii) directs that Plaintiff shall monitor Defendants’ facilities to
             ensure that the injunctive relief ordered above remains in place.

      c.     An Order certifying the class proposed by Plaintiff, naming Plaintiff as class
             representative, and appointing his counsel as class counsel;

      d.     Payment of costs of suit;

      e.     Payment of reasonable attorneys’ fees pursuant to 42 U.S.C. § 12205 and 28 C.F.R.
             § 36.505; and

      f.     The provision of whatever other relief the Court deems just, equitable, and
             appropriate.


Dated: May 17, 2018                                Respectfully Submitted,


                                                   s/ James L. Ward, Jr.
                                                   James L. Ward, Jr.
                                                   Fed. ID No. 6956
                                                   MCGOWAN HOOD & FELDER, LLC
                                                   321 Wingo Way, Suite 103
                                                   Mt. Pleasant, SC 29464
                                                   Phone: 843-388-7202
                                                   Fax: 843-388-3194
                                                   jward@mcgowanhood.com

                                                   Gregory A. DeLuca
                                                   Fed. ID No. 7748
                                                   DeLUCA MAUCHER, L.L.P.
                                                   113 Broughton Road
                                                   Moncks Corner, SC 29461
                                                   Phone: 843-899-7877
                                                   Fax: 843-899-7687
                                                   greg@delucamaucher.com




                                              14
     2:18-cv-01354-DCN       Date Filed 05/17/18   Entry Number 1       Page 15 of 15




                                                Benjamin J. Sweet*
                                                Edwin J. Kilpela, Jr.*
                                                Elizabeth Pollock-Avery*
                                                Bryan Fox*
                                                CARLSON LYNCH SWEET
                                                KILPELA & CARPENTER, LLP
                                                1133 Penn Avenue, 5th Floor
                                                Pittsburgh, PA 15222
                                                Phone: 412-322-9243
                                                Fax: 412-231-0246
                                                bsweet@carlsonlynch.com
                                                ekilpela@carlsonlynch.com
                                                eavery@carlsonlynch.com
                                                bfox@carlsonlynch.com

                                                Counsel for Plaintiff and the Class

*pro hac vice application forthcoming




                                           15
